         Case: 5:11-cv-00408-SL Doc #: 26 Filed: 02/25/14 1 of 15. PageID #: 6094



                                    UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF OHIO
                                          EASTERN DIVISION


MARSHA MILLS,                                              )   CASE NO. 5:11CV408
                                                           )
                                                           )
                              PETITIONER,                  )   JUDGE SARA LIOI
                                                           )
vs.                                                        )
                                                           )   MEMORANDUM OPINION
GININE TRIM, Warden,                                       )
                                                           )
                                                           )
                              RESPONDENT.                  )


                     Before the Court are petitioner’s objections (Doc. No. 25)1 to the Report and

Recommendation (“R&R”) (Doc. No. 24) of Magistrate Judge Vernelis K. Armstrong,

recommending denial of the petition for writ of habeas corpus, filed pursuant to 28 U.S.C. §

2254. Respondent has filed neither objections nor a response to petitioner’s objections. The

matter is ripe for determination.

                           I. PROCEDURAL AND FACTUAL BACKGROUND

                    The underlying facts and procedural history are not challenged and need be

recounted here only briefly, for the sake of context.

                    Petitioner, Marsha Mills, was indicted on October 6, 2006 by a Tuscarawas

County grand jury on three counts of murder in violation of Ohio Rev. Code § 2903.02(B), one

count of felonious assault in violation of Ohio Rev. Code § 2903.11(A)(1), and two counts of

endangering children in violation of Ohio Rev. Code § 2919.22(B)(1) and (B)(3). (Return of




1
    Petitioner is represented by counsel in this proceeding.
         Case: 5:11-cv-00408-SL Doc #: 26 Filed: 02/25/14 2 of 15. PageID #: 6095



Writ [“Return”], Doc. No. 14-1.)2 The charges stemmed from an incident that occurred on May

10, 2006 at petitioner’s home, where she was babysitting four children, including the victim,

Noah Shoup. While in petitioner’s care, Noah suffered head injuries which subsequently led to

his death. Petitioner claimed the injuries were the result of an accidental fall down her back

porch steps and the subsequent medical treatment. The State argued that the injuries resulted

from physical abuse.

                    On June 15, 2007, following a jury trial, petitioner was found guilty of murder

(counts one and two of the indictment), felonious assault (count four), and endangering children

(count five).3 (Doc. No. 14-22.) She was sentenced on June 20, 2007 to an indefinite term of

fifteen (15) years to life for each of the two murder convictions, eight (8) years for the felonious

assault conviction, and eight (8) years for the endangering children conviction, all to be served

concurrently. (Doc. No. 14-24.)

                    On July 2, 2007, represented by counsel, petitioner timely filed her direct appeal,4

raising seven (7) assignments of error.5 (Doc. Nos. 14-25, 14-32.)6 On April 15, 2009, the Fifth


2
 Due to the separate filing of Exhibit 38 to the Return (see Doc. No. 19), Exhibits 1 through 37 in the Return are
correctly numbered, but Exhibits 39 and the following are all one number off in the electronic filing system. For
ease of reference, in this opinion, the exhibits will be referred to by their full docket number.
3
    During the course of the trial, the State dismissed counts three and six of the indictment. (Doc. No. 14-22 at 3374.)
4
  The direct appeal was subsequently delayed somewhat by a remand to the trial court for articulation of its reasons
for denying petitioner’s motion for stay of execution of the judgment, a motion which had been renewed before the
Court of Appeals. (See Doc. No. 14-28.)
5
    The assignments of error raised were:
           1.       The court erred when it placed unwarranted restrictions on the defendant’s expert witness
                    and allowed the State to introduce evidence of a scientific experiment without conducting
                    the required pretrial hearing on admissibility.
           2.       The trial court committed plain error when it admitted irrelevant, gruesome, repetitive
                    and substantially prejudicial photographs of the deceased child in violation of Mills’
                    constitutional rights.
           3.       The verdict was against the manifest weight of the evidence and defendant’s conviction
                    was not supported by sufficient evidence.
                                                             2
         Case: 5:11-cv-00408-SL Doc #: 26 Filed: 02/25/14 3 of 15. PageID #: 6096



District Court of Appeals of Ohio rejected all but the seventh assignment of error (Doc. No. 14-

35), remanding the case “with instructions to merge appellant’s convictions for child

endangering and felonious assault into the convictions of felony murder, to merge the two counts

of felony murder into one and to enter a single conviction and impose a single sentence for these

allied offenses.” (Id. at 3704.)

                    Mills, still represented by counsel, timely filed an appeal to the Ohio Supreme

Court, raising seven (7) propositions of law.7 (Doc. Nos. 14-36, 14-37.) The appeal was


           4.       The court erred when it failed to record all of the proceedings in the case.
           5.       Appellant was deprived of effective assistance of counsel due to numerous errors and
                    omissions which prejudiced appellant’s trial.
           6.       The prosecution prejudiced the outcome of the case through improper closing argument.
           7.       The trial court erred in imposing multiple punishments for allied offenses of similar
                    import contrary to R.C. § 2941.25 and the double jeopardy clause of the Ohio and United
                    States Constitutions.
(Doc. No. 14-32 at 3460-61.)
6
  While appellate briefing was occurring, on April 28, 2008, represented by counsel, Mills also filed in the common
pleas court a motion to vacate or set aside judgment and sentence, primarily based on claims of ineffectiveness of
trial counsel. (Doc. Nos. 14-41, 14-42.) The State moved for dismissal, and the motion was granted by the trial court
on July 18, 2008, on a finding that all fifteen (15) claims for relief were barred by res judicata. (Doc. Nos. 14-43,
14-45.) The trial court also rejected a motion for reconsideration. (Doc. Nos. 14-54, 14-56.) Appeals from both
rulings to Ohio’s Fifth District Court of Appeals were unsuccessful (Doc. Nos. 14-50, 14-60), as were appeals to the
Ohio Supreme Court (Doc. Nos. 14-53, 14-63).
7
    The propositions of law were:
           1.       A witness who has been qualified as an expert pursuant to Ohio Rule of Evidence 702
                    may not provide an expert opinion that is based on an untested, potentially unreliable
                    methodology, even if that methodology appears to be straightforward to a lay person. In
                    all cases, an expert’s methodology or process, upon which his or her expert opinion is
                    based, must be demonstrated to be reliable and, when that opinion is based on the result
                    of a procedure, test, or experiment, it must comply with Ohio R. Evid. 702(C)(1)-(3)
                    before being admitted into evidence. Admitting an expert opinion into evidence in
                    contravention of this rule results in a violation of the Fifth and Sixth Amendments to the
                    United States Constitution as incorporated by the Fourteenth Amendment, and Section
                    10, Article I of the Ohio Constitution.
           2.       The Fifth and Sixth Amendments to the United States Constitution as incorporated by the
                    Fourteenth Amendment, Art. I, Sections 10, 16 of the Ohio Constitution, and Ohio R.
                    Evid. 401 and 403 prohibit the admission of autopsy photographs that are not probative,
                    not relevant and highly prejudicial. The introduction of such photographs therefore
                    constitutes plain error. Further, the failure to object to the admission of such photographs
                    constitutes ineffective assistance of counsel.
                                                             3
      Case: 5:11-cv-00408-SL Doc #: 26 Filed: 02/25/14 4 of 15. PageID #: 6097



dismissed on August 26, 2009 “as not involving any substantial constitutional question.” (Doc.

No. 14-38.) A motion for reconsideration as to only the first proposition of law was denied on

November 4, 2009. (Doc. Nos. 14-39, 14-40.)

                 On January 12, 2010, responding to the remand of April 15, 2009, the trial court

resentenced Mills to an indefinite term of fifteen (15) years to life. (Doc. No. 14-64.)

                 On February 25, 2011, the instant petition was filed by Mills, through counsel,

raising the following grounds for relief:

        1.       Improper admission of junk science
        2.       Improper restriction on presentation of defense case
        3.       Brady claim
        4.       Prosecutor misconduct
        5.       Ineffective assistance of trial counsel
        6.       Cumulative errors

(Petition, Doc. No. 2-1, passim.)

        3.       When evidence is equipoised in a criminal case, the defendant must be acquitted, and to
                 hold otherwise is a violation of the defendant’s Fifth and Sixth Amendment Rights to
                 Due Process and a Fair Trial, respectively, as incorporated by the Fourteenth
                 Amendment, and the Ohio Constitution, Article I, Section 10, 16, and the Ohio Rules of
                 Evidence.
        4.       Ineffective assistance of counsel in violation of a defendant’s Sixth Amendment Right to
                 counsel as incorporated by the Fourteenth Amendment, can be found when trial counsel’s
                 cumulative errors prejudice the outcome of trial and deny the defendant a fair trial.
        5.       Out-of-court statements made by the defendant that are not admissions against interest
                 are hearsay pursuant to Evid. R. 801(D)(2) and to allow their admission denies the
                 defendant’s Fifth and Sixth Amendment Rights to Due Process and a Fair Trial,
                 respectively, as incorporated by the Fourteenth Amendment.
        6.       The outcome of a trial can be prejudiced by a prosecutor’s misconduct no matter when it
                 occurs during the trial process, from jury selection to rebuttal closing arguments,
                 especially when the prosecutor vouches for his witnesses and comments on the
                 defendant’s silence, violating the defendant’s Fifth and Sixth Amendment Rights to Due
                 Process and a Fair Trial and Counsel, respectively, as incorporated by the Fourteenth
                 Amendment.
        7.       When a court of appeals bases its decision on an incorrect reading of the record, the
                 Supreme Court will vacate that decision and remand the case to the court of appeals to be
                 reanalyzed and redrafted using the correct set of facts; otherwise, the defendant is denied
                 his or her rights under the Fifth and Sixth Amendments to the United States Constitution
                 as incorporated by the Fourteenth Amendment.
(Doc. No. 14-37 at 3708-09.)
                                                         4
     Case: 5:11-cv-00408-SL Doc #: 26 Filed: 02/25/14 5 of 15. PageID #: 6098



               Respondent filed the Return of Writ on September 1, 2011 (Doc. No. 14), and

petitioner filed her Traverse on October 1, 2011 (Doc. No. 22).



                                        II. DISCUSSION

A.     Standard of Review

               Under 28 U.S.C. § 636(b)(1), “[a] judge of the court shall make a de novo

determination of those portions of the report or specified proposed findings or recommendations

to which objection is made.” Powell v. United States, 37 F.3d 1499 (Table), 1994 WL 532926, at

*1 (6th Cir. Sept. 30, 1994) (“Any report and recommendation by a magistrate judge that is

dispositive of a claim or defense of a party shall be subject to de novo review by the district court

in light of specific objections filed by any party.”). After review, the district judge “may accept,

reject, or modify the recommended disposition; receive further evidence; or return the matter to

the magistrate judge with instructions.” Fed. R. Civ. P. 72(b)(3).

               In conducting its de novo review in a habeas context, this Court must be mindful

of the requirements of the Antiterrorism and Effective Death Penalty Act (“AEDPA”), Pub. L.

No. 104-132, 110 Stat. 1214 (1996), which provides in relevant part:

              An application for a writ of habeas corpus on behalf of a person in custody
       pursuant to the judgment of a State court shall not be granted with respect to any
       claim that was adjudicated on the merits in State court proceedings unless the
       adjudication of the claim−

                       (1) resulted in a decision that was contrary to, or involved an
               unreasonable application of, clearly established Federal law, as determined
               by the Supreme Court of the United States; or

                       (2) resulted in a decision that was based on an unreasonable
               determination of the facts in light of the evidence presented in the State
               court proceeding.


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     Case: 5:11-cv-00408-SL Doc #: 26 Filed: 02/25/14 6 of 15. PageID #: 6099



28 U.S.C. § 2254(d). “Section 2254(d) reflects the view that habeas corpus is a ‘guard against

extreme malfunctions in the state criminal justice systems,’ not a substitute for ordinary error

correction through appeal.” Harrington v. Richter, -- U.S. --, 131 S. Ct. 770, 786, 178 L. Ed. 2d

624 (2011) (quoting Jackson v. Virginia, 443 U.S. 307, 332 n.5, 99 S. Ct. 2781, 61 L. Ed. 2d 560

(1979) (Stevens, J., concurring in judgment)).

                “Under the ‘contrary to’ clause, a federal habeas court may grant the writ if the

state court arrives at a conclusion opposite to that reached by [the Supreme] Court on a question

of law or if the state court decides a case differently than [the Supreme] Court has on a set of

materially indistinguishable facts. Under the ‘unreasonable application’ clause, a federal habeas

court may grant the writ if the state court identifies the correct governing legal principle from

[the Supreme] Court’s decisions but unreasonably applies that principle to the facts of the

prisoner’s case.” Williams v. Taylor, 529 U.S. 362, 412-13, 120 S. Ct. 1495, 146 L. Ed. 2d 389

(2000).

                In addition, “a determination of a factual issue made by a State court shall be

presumed to be correct. The applicant [for a writ of habeas corpus] shall have the burden of

rebutting the presumption of correctness by clear and convincing evidence.” 28 U.S.C. §

2254(e)(1).

B.        Analysis

          1.    Grounds Two, Three, Four, and Six

                The R&R recommends that grounds two, three, four, and six be dismissed as

procedurally defaulted. Petitioner has filed no objection, other than to state: “The Report and

Recommendation incorrectly denied the majority of the petition.” (Doc. No. 25 at 6079.) This

simple conclusory statement does not amount to a proper objection.

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        Case: 5:11-cv-00408-SL Doc #: 26 Filed: 02/25/14 7 of 15. PageID #: 6100



                Therefore, the recommendation to dismiss grounds two, three, four, and six as

procedurally defaulted is accepted by the Court.

         2.     Ground One

                In ground one, petitioner asserts that the trial judge “allowed two different [S]tate

expert witnesses to improperly testify to matters beyond their expertise regarding highly

speculative and unproven ‘scientific’ theories. One of the witnesses [Dr. George Sterbenz] used

Play-doh for experimentation regarding the child’s fall. Another witness [Dr. Richard Daryl

Steiner] discussed the reasons why a person would abuse a child.” (Doc. No. 2-1 at 68.)

                The R&R recommends dismissal of ground one because it relates to alleged errors

regarding admissibility of evidence—a matter that is usually not cognizable in federal habeas

corpus, absent violation of some “principle of justice so rooted in the traditions and conscience

of our people that they are ranked as fundamental.” (Doc. No. 24 at 6058, citing cases.) In

particular, the R&R concludes:

                 In the instant case, Dr. Sterbenz used Play-doh to make impressions to
         show the impact of the victim’s fall on the stairs. The trial judge admitted the
         pictures of Play-doh evidence over Petitioner’s objections. Petitioner has not
         demonstrated that these pictures were crucial or a highly significant factor in
         rendering a fair trial. Neither has Petitioner demonstrated that the trial court’s
         evidentiary ruling was of such magnitude that the result is a denial of the
         fundamentally fair trial guaranteed by due process. Even though this evidence had
         the effect of rebutting the testimony of Petitioner’s expert witness, there is no
         clearly established Supreme Court precedent which holds that a state violates due
         process by admitting into evidence pictures of Play-doh impressions that were
         limited by its [sic] creator’s explanation.

                  Federal habeas corpus does not lie for errors in state law. The Magistrate
         recommends that the Court deny Petitioner’s first ground for relief for the reasons
         that relief is predicated on a violation of state evidentiary rules.

(Id.)



                                                   7
      Case: 5:11-cv-00408-SL Doc #: 26 Filed: 02/25/14 8 of 15. PageID #: 6101



                 Petitioner objects, asserting that the recommendation “simply ignores the

Supreme Court mandate of Daubert v. Merrell Dow Pharmaceuticals, 509 U.S. 579[, 113 S. Ct.

2786, 125 L. Ed. 2d 469] (1993) and Kumho Tire Co. v. Carmichael, 526 U.S. 137, 119 S. Ct.

1167, 1175[, 143 L. Ed. 2d 238] (1999), which did attach due process protection for the

admission of essentially junk science, as occurred here.” (Doc. No. 25 at 6082.)

                 The gravamen of ground one, as it relates to the testimony of Dr. Sterbenz (a

forensic pathologist employed by the Summit County Medical Examiner’s Office, who

performed the autopsy on Noah Shoup), was that, without first conducting a Daubert hearing, the

trial court permitted Dr. Sterbenz to compare photographs of Play-doh impressions he made of

the stair treads at Mills’s home to the injuries on the victim’s neck, as a means of concluding that

those injuries were not the result of a fall down the stairs. 8 Petitioner characterizes the Play-doh

methodology as “junk science” that should not have been permitted, at least not without first

conducting a hearing to perform the inquiry required by Daubert: determining whether the

expert’s testimony reflects “scientific knowledge,” that is, “whether the reasoning or

methodology underlying the testimony is scientifically valid and . . . whether that reasoning or

methodology properly can be applied to the facts in issue.” Daubert, 509 U.S. at 592-93.

Petitioner is not arguing that a Daubert hearing is required in every case; but, she asserts a

hearing was required here because “the method relied upon [i.e., Play-doh models] is new,

constroversial [sic] and has not been accepted by courts previously[.]” (Doc. No. 22 at 6005.)

                 Petitioner maintains that, when examining the admissibility of Dr. Sterbenz’s

testimony and use of photographs of Play-doh models to illustrate his testimony for the jury, the


8
  The testimony was elicited when Dr. Sterbenz was re-called to rebut the testimony of petitioner’s expert, Dr. John
J. Plunkett.
                                                         8
     Case: 5:11-cv-00408-SL Doc #: 26 Filed: 02/25/14 9 of 15. PageID #: 6102



Ohio court of appeals mistakenly “just decided that in its view it was all simple, when in reality,

the matter is much more complex.” (Doc. No. 25 at 6086.)

               As noted above, this Court may grant habeas relief only if a claim adjudicated on

the merits in state court “resulted in a decision that was contrary to, or involved an unreasonable

application of, clearly established Federal law, as determined by the Supreme Court of the

United States[.]” 28 U.S.C. § 2254(d)(1).

               Here, in a thorough discussion wherein it quoted at length from Dr. Sterbenz’s

testimony (see Doc. No. 14-35 at 3664-75), the Fifth District Court of Appeals carefully applied

the principles of Daubert and Kumho Tire. In particular, that court noted that a trial court’s

determination regarding admissibility of evidence, including expert testimony, is subject to an

abuse of discretion standard, which “applies as much to the trial court’s decisions about how to

determine reliability as to its ultimate conclusion.” (Doc. No. 14-35 at 3674, quoting Kumho

Tire.) In full context, the Court in Kumho Tire stated:

       The trial court must have the same kind of latitude in deciding how to test an
       expert’s reliability, and to decide whether or when special briefing or other
       proceedings are needed to investigate reliability, as it enjoys when it decides
       whether or not that expert’s relevant testimony is reliable. Our opinion in Joiner
       makes clear that a court of appeals is to apply an abuse-of-discretion standard
       when it “review[s] a trial court’s decision to admit or exclude expert testimony.”
       522 U.S., at 138-139, 118 S.Ct. 512. That standard applies as much to the trial
       court’s decisions about how to determine reliability as to its ultimate conclusion.
       Otherwise, the trial judge would lack the discretionary authority needed both to
       avoid unnecessary “reliability” proceedings in ordinary cases where the reliability
       of an expert’s methods is properly taken for granted, and to require appropriate
       proceedings in the less usual or more complex cases where cause for questioning
       the expert’s reliability arises. Indeed, the Rules seek to avoid “unjustifiable
       expense and delay” as part of their search for “truth” and the “jus[t]
       determin[ation]” of proceedings. Fed. Rule Evid. 102. Thus, whether Daubert’s
       specific factors are, or are not, reasonable measures of reliability in a particular
       case is a matter that the law grants the trial judge broad latitude to determine. See
       Joiner, supra, at 143, 118 S.Ct. 512.


                                                 9
      Case: 5:11-cv-00408-SL Doc #: 26 Filed: 02/25/14 10 of 15. PageID #: 6103



Kumho Tire, 526 U.S. at 152-53.

                  The court of appeals also correctly noted that a hearing on the admissibility of Dr.

Sterbenz’s testimony, and his use of photographs of Play-doh models, had been conducted pre-

trial. At that time, Mills’s only argument was based on Ohio evidence rules and consisted of a

challenge to whether Dr. Sterbenz could be qualified as an expert in accident reconstruction and

biomechanics. At trial, Mills never requested a Daubert hearing and did not renew her objection

to the testimony of Dr. Sterbenz. (Doc. No. 14-35 at 3664-65.) In addition, at trial, counsel had

the opportunity to cross-examine Dr. Sterbenz, both after his direct testimony and after he was

called to rebut the testimony of Mills’s own expert, Dr. Plunkett, as to the cause of Noah’s

death.9

                  Whether or not this Court agrees with the decisions of the state courts, or views

them as correct or incorrect, is not the issue in the habeas context. The issue under § 2254 is

whether the decisions were “contrary to” or an “unreasonable application of” established

Supreme Court precedent. That conclusion cannot be drawn with respect to the decisions of the

state courts regarding Dr. Sterbenz’s testimony and methods.10

                  Petitioner’s objection with respect to the R&R’s recommendation as to ground

one is overruled and the recommendation is accepted.




9
  That said, the cross-examination following the re-call of Dr. Sterbenz was extremely brief and did not actually
attempt to challenge the science of what he had done with the Play-doh. (Doc. No. 14-66 at 5778.)
10
  In ground one, Mills also challenged the trial court’s decision to allow Dr. Richard Daryl Steiner, a pediatrician, to
testify as to the reasons why a person would abuse a child. (Doc. No. 2-1 at 68.) The R&R did not specifically
address this portion of ground one, a fact merely noted in passing by Mills. (Doc. No. 25 at 6082: “The [R&R] did
not comment on Dr. Steiner’s testimony outside of his expertise.”) Although a few paragraphs in the Objections
repeat allegations made in the Petition regarding Dr. Steiner, the Court finds no true objection or argument and,
therefore, sees no need to separately address this portion of ground one.
                                                          10
     Case: 5:11-cv-00408-SL Doc #: 26 Filed: 02/25/14 11 of 15. PageID #: 6104



       3.      Ground Five

               In ground five, petitioner claims ineffectiveness of trial counsel in several

respects. Although ineffectiveness of counsel is often raised in the habeas context as cause for

the procedural default of another claim, petitioner is not raising it in that manner. Rather, she is

simply asserting an outright Sixth Amendment violation, claiming that her trial counsel was so

thoroughly ineffective that her “conviction and sentences are void and/or voidable[.]” (Doc. No.

2-1 at 90.)

               To establish ineffective assistance of counsel, petitioner must show (1) “that

counsel made errors so serious that counsel was not functioning as the ‘counsel’ guaranteed . . .

by the Sixth Amendment[;]” and (2) “that the deficient performance prejudiced the defense.”

Strickland v. Washington, 466 U.S. 668, 687, 104 S. Ct. 2052, 80 L. Ed. 2d 674 (1984). A

petitioner must also be able to establish that the claim of ineffectiveness of counsel is not itself

procedurally defaulted.

               a.      Four sub-claims procedurally defaulted

               The R&R concluded that the following four (4) sub-claims of ground five are

procedurally defaulted, because of failure to exhaust them before the state courts, resulting in

there being no remaining available form of relief from those courts: failure to object to testimony

by the state’s non-pathologist experts as to cause of death; failure to conduct an effective direct

examination of Mills’s expert, Dr. John Plunkett; failure to fully investigate the background of

the state’s expert pathologist, Dr. Richard Daryl Steiner; and, failure to redact unfairly

prejudicial information from the autopsy report.

               The R&R recommends dismissal of these sub-claims. Mills has not objected to

this recommendation, and it is, therefore, accepted by the Court.

                                                11
     Case: 5:11-cv-00408-SL Doc #: 26 Filed: 02/25/14 12 of 15. PageID #: 6105



        b.      One sub-claim lacks merit

                The R&R also concluded that the sub-claim relating to the failure to object to

photographs lacks merit and should be dismissed.

                Mills has not objected to this recommendation, and it is, therefore, accepted by

the Court.

        c.      One sub-claim not subject to habeas review

                The R&R’s treatment of the sub-claim that trial counsel was ineffective due to

failure to object to the prosecuting attorney’s improper closing argument is not particularly clear.

The conclusion appears to be that this sub-claim of ineffective assistance is procedurally

defaulted because the underlying claim of prosecutorial misconduct was disposed of in the state

court by application of an adequate and independent state ground (i.e., Ohio’s contemporaneous

objection rule), rendering that underlying claim procedurally defaulted and not subject to habeas

review. The R&R further concludes that petitioner has failed to establish the requisite cause and

prejudice to overcome the default of this claim.

                Petitioner’s objection with respect to this sub-claim of ground five is equally

unclear. Petitioner argues at length about all the alleged instances of prosecutorial misconduct,

concluding that the misconduct was “so flagrant and prejudicial that it resulted in a trial that was

fundamentally unfair.” (Doc. No. 25 at 6091.) Petitioner then comments briefly on the R&R,

stating: “the failure of counsel to object is the basis of the ineffective assistance of counsel claim,

which has not been defaulted. Therefore, the magistrate erred in refusing to address the merits of

this aspect of the claim.” (Id.)

                A review of the record here shows that Mills raised this very claim of

ineffectiveness, along with six others, before the Ohio court of appeals. (Doc. No. 14-35 at 3684-

                                                   12
     Case: 5:11-cv-00408-SL Doc #: 26 Filed: 02/25/14 13 of 15. PageID #: 6106



85.)11 Interestingly, although that court addressed each of the six other claims, it did not address

this claim of failure to object to the prosecutor’s closing argument. (See id. at 3686-90.) Perhaps

this was inadvertence; or perhaps it had to do with the fact that the petitioner also raised before

that court, as she does here, a challenge on the merits of an underlying claim of prosecutorial

misconduct, which the Ohio court of appeals rejected.

                Assuming only for the sake of this opinion that this sub-claim is properly before

this Court, it is petitioner’s burden to establish that failure to object to the prosecutor’s closing

arguments actually was ineffectiveness on the part of counsel, and not mere trial strategy.

Petitioner has made no attempt at such a showing. The entire argument in her petition in support

of this sub-claim is: “The Petitioner’s Fourth claim for Relief is incorporated here.” (Doc. No. 2-

1 at 93.) However, all of the arguments in the fourth claim for relief (which the R&R found

procedurally defaulted, without any objection from petitioner) relate solely to the merits of the

underlying claims of prosecutorial misconduct and contain no arguments under Strickland and its

progeny to convince this Court that her trial counsel was ineffective.

                The Objections are no better by way of argument, stating simply: “[T]he

magistrate erred in refusing to address the merits of this aspect of the claim.” (Doc. No. 25 at

6091.) There is no legal argument made under Strickland.

                Having conducted a de novo review with respect to this sub-claim of ground five,

the Court concludes that petitioner has completely failed to meet her burden, and that this sub-

claim should be dismissed.




11
  The claim was also included in her memorandum in support of jurisdiction filed with the Ohio Supreme Court.
(Doc. No. 14-37.)
                                                     13
     Case: 5:11-cv-00408-SL Doc #: 26 Filed: 02/25/14 14 of 15. PageID #: 6107



       d.      Another sub-claim fails on the merits

               Petitioner asserts ineffectiveness of trial counsel due to failure to confront Dr.

Steiner with evidence that he had given erroneous medical opinions in the past. The R&R

concludes that “[p]etitioner has not shown that she was prejudiced by her lawyer’s deficient

performance or that without her counsel’s performance, she would have obtained a different

result.” (Doc. No. 24 at 6068-69.) The R&R further concludes that “defense counsel’s cross-

examination did not fall below an objective standard of reasonableness.” (Id. at 6069.) Therefore,

the R&R recommends dismissal of this sub-claim.

               The only argument petitioner makes by way of objection is as follows:

               [T]he governing legal principle here is the denial of her right to effective
       assistance of counsel. Counsel’s failure to make known to the jury that the
       prosecutor’s key witness had erred in similar circumstances was key to the
       outcome of this case. The verdict of the jury was necessarily based upon its
       assessment of the credibility of the experts called by both parties. The failure to
       expose a state witness of having misdiagnosed the cause of deaths of children in
       other cases clearly could have tipped the scales here. The resultant verdict was
       therefore, unreliable.

(Doc. No. 25 at 6093.)

               Although petitioner fails in this single conclusory paragraph to make a showing of

ineffective assistance of counsel under Strickland, the Court rejects this sub-claim for an entirely

different reason than that given by the R&R.

               A review of Mills’s appellate brief filed in her direct appeal to the state court

reveals that, although she raised several instances of alleged ineffective assistance of trial

counsel, failure to properly cross-examine Dr. Steiner about his past erroneous medical opinions

was not raised. This particular claim was not raised until she filed her petition to vacate or set

aside judgment. (Doc. No. 14-41.) The trial court rejected the claim on the ground of res


                                                14
     Case: 5:11-cv-00408-SL Doc #: 26 Filed: 02/25/14 15 of 15. PageID #: 6108



judicata, because it “could have been raised on direct appeal, and the outside evidence presented

by Mills in support of her Tenth Claim for Relief was not cogent.” (Doc. No. 14-45 at 3890.)

               Because res judicata prevented Mills from obtaining review in state court of this

sub-claim, it is procedurally defaulted and cannot be reviewed by this Court on habeas, absent a

showing of cause for the default and prejudice. Maupin v. Smith, 785 F.2d 135, 138 (6th Cir.

1986) (four-part test for determining whether a procedural default is a bar to habeas review).

               Petitioner has made no such argument, at least not in any non-conclusory fashion.

Even assuming a showing of cause for the default, petitioner has not shown how she was

prejudiced. Although declaring that the fact that Dr. Steiner had erred in similar circumstances

was “key to the outcome” of her case, she does not show this Court how, in light of all the other

evidence, she could not possibly have been convicted had this fact been known to the jury.

               The Court rejects this sub-claim, finding it procedurally defaulted, with no

showing of cause for the default or prejudice to her case.

                                       III. CONCLUSION

               For the reasons set forth herein, petitioner’s objections are overruled. The R&R is

accepted in part and, for the reasons stated therein and in this opinion, the petition for writ of

habeas corpus is denied and this case is dismissed. Further, the Court certifies that an appeal

from this decision could not be taken in good faith and there is no basis upon which to issue a

certificate of appealability. 28 U.S.C §§ 1915(a)(3), 2253(c); Fed. R. App. P. 22(b).

               IT IS SO ORDERED.

Dated: February 25, 2014
                                               HONORABLE SARA LIOI
                                               UNITED STATES DISTRICT JUDGE



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